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               IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION




                                                   )
Milwaukee Electric                                 ) Case Number: 25-cv-273
Tool Corporation,                                  )
                                                   )
                                                   )
                                                   )
                                                   ) Honorable Thomas M. Durkin
                              Plaintiff,           )
                                                   )
        v.                                         )
                                                   )
                                                   )
The Individuals, Corporations, Limited Liability
Companies, Partnerships and Unincorporated
Associations Identified in Schedule A Hereto,


                          Defendants.
                   (UNOPPOSED) FIRST MOTION OF DEFENDANT
                  FOR EXTENSION OF TIME TO ANSWER OR PLEAD

NOW COMES the Defendant, 163 foshanwuyingjiaosiweiyouxia (ID: 10001666192),

(“Defendant”), through counsel, and respectfully requests this Court extend the time by 21 days

to respond to the Complaint. In support:


        1.     This is the first extension motion filed by the Defendant.


        2.     The Defendant is in settlement negotiations with the Plaintiff.


        3.     The Defendant needs additional time to try and reach an agreement, or if not,

               respond to Plaintiff’s Complaint, and further, counsel was just recently retained in

               this matter.
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       4.       This Court may, for good cause, extend the time by which Defendant’s response

                is due if a request is made, before the original time or its extension expires. Fed.

                R. Civ. P. 6(b)(1)(A).

       5.       The Defendant requests this Court extend the date 21 days from the date of this

                filing on which Defendant must respond to Plaintiff’s Complaint, if ultimately

                necessary, to March 24, 2025.

        6.      The Plaintiff stated it does not expect to oppose this Motion.

       WHEREFORE, for the foregoing reasons, Defendant 163 foshanwuyingjiaosiweiyouxia,

respectfully requests this Honorable Court enter an Order: Extending the date on which its

response to Plaintiff’s Complaint is due 21 days to March 24, 2025.


March 3, 2025                  Respectfully submitted,


                                         s/ Christopher Keleher

                                         Christopher Keleher
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                              CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies on March 3, 2025 that a true and correct copy

of the foregoing document was filed electronically with the Clerk of the Court and served on all

counsel of record.


       Respectfully submitted,

       s/ Christopher Keleher

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